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Attorneys for Defendant
Borough of Wallington,
                                    THE UNITED STATES
                                       IN
                         DISTRICT COURT DISTRICT OF NEW JERSEY


  WITOLD BAGINSKI,                                               CASE NO:        2:17-cv-05320 (JLL) (JAD)

                  Plaintiff,


                                                                                 Civil Action
  V.



  BOROUGH OF WALLINGTON;
  EUGENIUSZ RACHELSKI,               individually and
                                                                 ANSWER                 TO        FIRST
  in his official capacity as Councilman;                        AMENDED                 COMPLAINT,
  KHALDOUN ANDROWIS                 individually and             SEPARATE                    DEFENSES,
  in his official capacity as  Councilman;                       DEMAND FOR STATEMENT
  MELISSA DABAL,           individually and in her               OF    DAMAGES,    JURY
  official capacity as   Councilwoman;      BRYAN                DEMAND, DESIGNATION OF
  OLKOWSKI,       individually and in his official               TRIAL   COUNSEL    AND
  capacity as Councilman;         VICTOR POLCE,                  CERTIFICATION
  individually and in his official capacity as
  Borough Administrator,       XYZ CORP. INC. (1—
  10);   JOHN DOES       (1-10) AND JANE DOES                    Electronically filed via        EQF
  (1- 10),




         Defendants, Borough of Wallington, by          way of Answer         to the First   Amended Complaint,

 says:


                                   NATURE OF ACTION AND VENUE

          1.      The   allegations contained in paragraph       1   are not directed against this Defendant or


 set forth legal conclusions for    which a response    is   required.   To   the extent a response    is   required,


 Defendant denies the allegations      in paragraph 1   and deny any and        all liability.



          2.      Admitted.
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        3.      Admitted.


        4.      Admitted as        to the fact that Plaintiff serves as the             Borough Clerk   for the   Borough

of Wallington, and denied for           all   remaining allegations.


         5.     Admitted in as much as the Borough of Wallington                         is   a Municipal Corporation of


the State of   New   Jersey organized under the Borough form of government, and denied as to                           all



remaining allegations in paragraph              5.



         6.     Admitted.

         7.     Admitted.


         8.     Admitted.


         9.     Admitted.


         10.    Admitted as            to the fact that Victor         Polche served as Borough Administrator for

the Borough of Wallington. Denied as to                   all   other allegations contained therein.


         11.    The     allegations contained in paragraph 11 are not directed against this                   Defendant

for   which no response      is   required.          T0   the extent a response    is   required Defendant denies the


 allegation contained in paragraph 11.


                                               STATEMENT OF FACTS

         12.    Defendant         is   without knowledge or information sufficient t0 form a belief as to


 the truth of the allegations contained in paragraph 12 and leave Plaintiff to his proofs.


         13.    Defendant neither admits nor denies, as                     this statutory     language speaks for   itself



 and no response   is   required.


         14.    Defendant         is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations contained in paragraph 14 and leaves Plaintiff to his proofs.


         15.    Defendant         is   without knowledge or information sufficient to form a belief as to
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the truth of the allegations contained in paragraph 15 and leaves Plaintiff to his proofs.


         16.           Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff t0 his proofs.


         17.           Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs


         18.           Defendant   is   without knowledge 0r information sufficient t0 form a belief as t0


the truth of the allegations and leave Plaintiff to his proofs


         19.           Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs


         20.           Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs


         21.           Defendant   is   without knowledge or information sufficient to form a belief as t0


 the truth of the allegations and leave Plaintiff to his proofs


         22.           Defendant   is   without knowledge 0r information sufficient to form a belief as t0


 the truth of the allegations and leave Plaintiff to his proofs


         23.           Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs


                                        without knowledge or information sufficient to form a belief as to
               ‘



         24.           Defendant   is



 the truth of the allegations and leave Plaintiff to his proofs
                   >




         25.           Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs


         26.           Defendant   is   without knowledge or information sufficient to form a belief as t0


 the truth of the allegations and leave Plaintiff to his proofs.
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        27.     Defendant    is   without knowledge or information sufficient t0 form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        28.     Defendant    is    without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff t0 his proofs.


        29.     Defendant    is    without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        30.     Defendant    is    without knowledge 0r information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        31.     Defendant    is    without knowledge or information sufficient to form a belief as t0
                                                                   r




the truth of the allegations and leave Plaintiff to his proofs.


        32.      Defendant   is    without knowledge or information sufficient to form a belief as t0


the truth of the allegations and leave Plaintiff to his proofs.


        33.      Defendant   is    without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         34.     Defendant   is    without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         35.     Defendant    is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         36.     Defendant   is    without knowledge or information sufficient to form a belief as to
                                                                                               L




 the truth of the allegations and leave Plaintiff to his proofs.


         37.     Defendant   is    without knowledge 0r information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         38.     Defendant   is    without knowledge or information sufficient to form a belief as   to‘
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the truth of the allegations and leave Plaintiff to his proofs.


        39.     Defendant       is   without knowledge 0r information sufficient to form a belief as to
                                                                       ‘




the truth of the allegations and leave Plaintiff to his proofs.


        40.     Defendant       is   without knowledge 0r information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff t0 his proofs.


        41.      Defendant      is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


         42.     Defendant      is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations   and leave   Plaintiff to his proofs.


         43.     Defendant      is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff t0 his proofs.


         44.     Denied.


         45.     Defendant      is   Without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         46.     Defendant      is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         47.     Defendant      is   without knowledge 0r information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         48.     Defendant      is   without knowledge or information sufficient to form a belief as t0


 the truth of the allegations and leave Plaintiff to his proofs.


         49.     Defendant      is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         50.     Defendant      is   without knowledge or information sufficient to form a belief as to
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the truth of the allegations and leave Plaintiff t0 his proofs.


        51.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        52.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        53.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth 0f the allegations and leave Plaintiff to his proofs.


        54.     Defendant    is   without knowledge or information sufficient t0 form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        55.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        56.     Denied.


        57.     Defendant    is   without knowledge or information sufficient to form a belief as t0


the truth of the allegations and leave Plaintiff to his proofs.


         58.    Defendant    is   without knowledge 0r information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


         59.     Defendant   is   without knowledgeyor information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


         60.     Defendant   is   without knowledge 0r information sufficient to form a belief as t0


the truth of the allegations and leave Plaintiff to his proofs.


         61.     Defendant   is   without knowledge 0r information sufficient t0 form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         62.     Defendant   is   without knowledge or information sufficient to form a belief as to
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the truth of the allegations and leave Plaintiff t0 his proofs.


        63.     Defendant    is   Without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        64.     Defendant    is   without knowledge or information sufficient to form a belief as t0


the truth of the allegations and leave Plaintiff to his proofs.


        65.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        66.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        67.     Defendant    is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


         68.     Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff t0 his proofs.


         69.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         70.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         71.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         72.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         73.     Denied.


         74.     Defendant   is   without knowledge or information sufficient to form a belief as to
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the truth 0f the allegations and leave Plaintiff to his proofs.


        75.     Denied.


        76.     Defendant    is   without knowledge 0r information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        77.      Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


        78.      Defendant   is   without knowledge or information sufficient to form a belief as t0


the truth 0f the allegations and leave Plaintiff to his proofs.


         79.     Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


         80.     Defendant   is   without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff to his proofs.


         81.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegatiéns and leave Plaintiff to his proofs.


         82.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth 0f the allegations and leave Plaintiff to his proofs.


         83.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         84.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         85.     Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations and leave Plaintiff to his proofs.


         86.     Denied as to Violation of the law.       Plaintiff is left to his proofs for all other
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allegations.


        87.         Defendant   is    without knowledge or information sufficient to form a belief as to


the truth of the allegations and leave Plaintiff t0 his proofs.


               COUNT ONE CONSCIENCIOUS EMPLOYEE PROTECTION ACT
        88.         Defendants incorporate and reinsert herein each and every response contained in


paragraphs 1through 87 as        if   the   same were more   fully set forth at length herein.


        89.         Denied.


        90.         Defendant   is    without knowledge or information sufficient to form a belief as to


the truth of the allegations contained herein and leave Plaintiff t0 his proofs.


        91.         Defendant   is    without knowledge or information sufficient to form a belief as to


the truth of the allegations contained herein and leave Plaintiff to his proofs.


        92.         Denied.


        WHEREFORE             Defendants Borough of Wallington hereby demands judgment on Count


 One and   dismissal of the     Amended Complaint together          with counsel fees and cost of suit and any


 further relief that the Court       may deem just and     appropriate.


                              COUNT TWO 42 U.S.C.1981 and 1983, et seq.

         93.        Defendants incorporate and reinserts herein each and every response contained in


 paragraphs    1   through 92 as     if   same were more   fully set forth at length herein.


         94.        Denied.


         95.        Denied.


         96.        Denied.


         97.        Defendant    is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations contained herein and leave the Plaintiff to his proofs.
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        98.        Defendant   is   without knowledge or information sufficient to form a belief as t0


 the truth of the allegations contained herein and leave the Plaintiff t0 his proofs.


        99.        Denied.


         100.      Denied.


         101.      Denied.


         102.      Denied.


         103.      Denied.


         104.      Denied.


         105.      Denied.


         106.      Denied.


         107.      Denied.


         108.      Denied.


         109.      Denied.


         1 10.     Denied.


         1 1 1.    Denied.


         1 12.     Denied.


         1 13.     Denied.


         1   14.   Denied.


         1 15.     Denied.


         116.      Denied.


         WHEREFORE           Defendant Borough of Wallington hereby demands judgment on Count


 Two   and dismissal 0f the     Amended Complaint      together with counsel fees and costs of suit and


 any further relief that the Court may deem just and appropriate.
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                                           COUNT THREE N.J.C.R.A.             117

         117.        Defendants incorporate and reassert herein each and every response contained in


 paragraphs     1   through 116 as    if   the   same were more   fully set forth at length herein.


         118.        Denied.


         119.‘       Denied.


         120.        Denied.


         121.        Denied.


         122.        Defendant   is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations contained herein and leave Plaintiff to his proofs.


         123.        Denied.


         124.        Denied.


         125.        Denied.


        I126.        Denied.


         127.        Denied.


         128.        Denied.


         129.        Denied.


         130.        Denied.


         131.        Denied.


         132.        Denied.


         133.        Denied.


         134.        Denied.


         135.        Denied.


         136.        Denied.
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        137.        Denied.


        138.        Denied.


        139.        Denied.


        140.        Denied.


        141.        Denied.


        WHEREFORE             Defendant Borough of Wallington hereby demands judgement 0n Count


 Three and dismissal of the Amended Complaint together with counsel fees and cost of            suit   and


 any further   relief that the   Court   may deem just and   appropriate.


                              COUNT FOUR 42 U.S.C. Section 1985, et. als.
        142.        Defendants incorporate and reassert herein each and every response contained in


 paragraphs    1   through 141 as   if   same were more   fully set forth at length herein.


        143.        Denied.


        144.        Statutory language speaks for itself and no response       is   required.


        145.        Denied.


        146.        Denied.


        147.        Denied.


        148.        Denied.


         149.       Denied.


         150.       Denied.


        WHEREFORE             Defendant Borough of Wallington hereby demands judgement on Count


 Four and dismissal of the Amended Complaint, together with counsel fees and cost of            suit   and


 any further   relief that the   Court   may deem just and   appropriate.


                                            COUNT FIVE N.J.L.A.D.
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         151.        Defendants incorporate and reassert herein each and every response contained in


 paragraph   1     thorough 150 as      if   the   same were more   fully set forth at length herein.


         152.        Defendant     is   without knowledge or information sufficient to form a belief as to


 the truth of the allegations contained herein and leave Plaintiff to his proofs.


         153.        Denied.


         154.        Denied.


         155.        Denied.


         156.        Denied.


         157.        Denied.


         158.        Denied.


         159.        Denied.


         160.        Denied.


         161.        Denied.


         WHEREFORE             Defendant Borough of Wallington hereby demands judgement on Count


 Five and dismissal 0f the          Amended          Complaint, together With counsel fees and cost of suit and


 any further     relief that the   Court     may deem just and      appropriate




                            COUNT SIX FAMILY MEDICAL LEAVE ACT
         162.        Defendants incorporate and reassert herein each and every response contained in


 paragraph     1   thorough 161 as      if   the   same were more   fully set forth at length herein.


         163.        Denied.


         164.        Denied.


         165.        Denied.
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         166.       Denied.


         167.       Denied.


         168.       Denied.


         169.       Denied.


         170.       Denied.


        WHEREFORE             Defendant Borough of Wallington hereby demands judgement on Count


 Six and dismissal of the     Amended Complaint,     together with counsel fees and cost 0f suit and any


 further relief that the Court   may deem just and   appropriate.




                                          SEPARATE DEFENSES

                                     FIRST AFFIRMATIVE DEFENSE

         At   all   relevant times, Defendants conducted themselves in full compliance with                    all



 applicable federal, state and local laws, statutes, ordinances and regulations, which compliance


 bars Plaintiff from asserting the claims herein.


                                    SECOND AFFIRMATIVE DEFENSE
         Plaintiff’s claims are barred as a result of his failure to exhaust administrative remedies.


                                     THIRD AFFIRMATIVE DEFENSE

         Defendants deny that any of their actions were      willful,   wanton, malicious, reckless 0r in


 any way actionable.

                                    FOURTH AFFIRMATIVE DEFENSE
         Defendants deny Violating any duty allegedly owed          to the Plaintiff, if   any duty   is   found to


 have existed.


                                      FIFTH AFFIRMATIVE DEFENSE
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           Defendants are    immune from          suit   by   Virtue of the applicable Statutes of the State   0f\New


 Jersey.


                                              SIXTH AFFIRMATIVE DEFENSE

           Defendants’ conduct was not the proximate cause of the Plaintiff’s alleged losses, injuries


 or damages.


                                            SEVENTH AFFIRMATIVE DEFENSE
           Plaintiff’s   claim   is   barred by the doctrine of res judicata.


                                             EIGHTH AFFIRMATIVE DEFENSE

           The Complaint     fails to state a     claim upon which relief can be granted as a matter of law.


                                              NINTH AFFIRMATIVE DEFENSE

           The claims     against Defendants are barred in            whole or   in part   by the applicable Statute of

 Limitations.


                                        TENTH AFFIRMATIVE DEFENSE
           Plaintiff’s   Complaint may be barred              in whole, or in part,   by the doctrines of    estoppel,


 laches and waiver.


                                            ELEVENTH AFFIRMATIVE DEFENSE
           Plaintiff’s claims         may   be barred, reduced and/or limited pursuant t0 applicable statutory


 and   common law regarding limitations             of awards, caps on recovery, and set         offs.



                                            TWELFTH AFFIRMATIVE DEFENSE
           Defendants, as a public entity and public employee within the contemplation of the                     New

 Jersey Tort Claims Act, are entitled to                  all   of the provisions, immunities, exemptions and


 limitations of said Act,         and consequently, are not           liable to the claimant or, if liable, only as


 limited   by   said Act.
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                                  THIRTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims for    damages are barred     or reduced   by   his failure to mitigate his alleged


 damages.


                                  FOURTEENTH AFFIRMATIVE DEFENSE
         Plaintiff has suffered    n0 damages.

                                    FIFTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s allegations fail to satisfy the required‘severe and/or pervasive standard.


                                    SIXTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s    claim for relief may be barred under the "unclean hands" doctrine.


                                  SEVENTEETH AFFIRMATIVE DEFENSE

         Costs alleged to be incurred in the future            may   not be recovered as they are remote,


 speculative, contingent and incapable of calculation.


                                   EIGHTEENTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims are subject to set-off,       recoupment and counterclaim for the damages


 suffered    by Defendants.

                               NINETEENTH AFFIRMATIVE DEFENSE

         At    all   times relevant herein, the actions of Defendants were done in accordance with law


 in   good   faith   and within the scope of   their duties.   Defendants are    immune from     suit   under the


 doctrine of good faith immunity.


                               TWENTIETH AFFIRMATIVE DEFENSE

         Defendants are immune from            liability for the acts or    omissions of a public employee


 constituting a crime, actual fraud, actual malice or willful misconduct           by   Virtue of N.J.S.A. 59:2-


 10.
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                                TWENTY-FIRST AFFIRMATIVE DEFENSE

         Defendants deny the applicability of punitive damages theories under the facts of                            this


 litigation and, in    any event, deny    that   it is   so liable under said theories.


                              TWENTY-SECOND AFFIRMATIVE DEFENSE

            Any    claims     made   herein for punitive damages             may be       barred because they are in


 contravention to due process, equal protection and other rights under the United States


 Constitution and the Constitution of the State of New Jersey.


                                TWENTY-THIRD AFFIRMATIVE DEFENSE

            Plaintiff’s claims for punitive       damages may be barred because the actions of Defendants

   were reasonable under the circumstances.

                               TWENTY-FOURTH AFFIRMATIVE DEFENSE

            During   all   relevant acts, Defendants acted, at a        minimum,     in   good   faith.



                                TWENTY-FIFTH AFFIRMATIVE DEFENSE

             Any   claim


 provision set forth in       M
                            made by   Plaintiff herein for punitive


                                        2A: 15-5.9       et seq.


                                     TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                                                             damages      is   limited and subject to the




            Plaintiff’s claims    may be barred because            0f his failure to joiﬁ necessary and indispensable


 parties.


                              TWENTY-SEVENTH AFFIRMATIVE DEFENSE

            Plaintiff failed to   engage in a protected        activity.



                                   TWENTY-EIGHTH AFFIRMATIVE DEFENSE

            Plaintiff’s    complaint should be dismissed because               all   actions taken        by Defendants   in


 regard to Plaintiff were in good faith and for legitimate non-retaliatory reasons.
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                              TWENTY-NINTH AFFIRMATIVE DEFENSE

        At   all   times, Defendants   had    in place effective anti—harassment            and anti-discriminatory


 complaint structures and/or training and monitoring mechanisms.


                                 THIRTIETH AFFIRMATIVE DEFENSE

        Plaintiff’s   damages are barred        in   whole or   in part   due to the discovery of after—acquired


 evidence.




                                         m
                               THIRTY-FIRST AFFIRMATIVE DEFENSE

        Defendants did not violate                    34: 15—39.1


                              THIRTY-SECOND AFFIRMATIVE DEFENSE
                                                                    et.   seq.




        Defendants did not violate the Conscientious Employer Protection Act.


                               THIRTY-THIRD AFFIRMATIVE DEFENSE

        Defendants acted reasonably and in good faith               at all times,      and are   therefore, entitled to


 qualified and absolute immunity.


                              THIRTY-FOURTH AFFIRMATIVE DEFENSE

        Defendants exercised reasonable care t0 prevent and promptly correct any alleged


 discriminatory, harassing or retaliatory behavior.


                                THIRTY-FIFTH AFFIRMATIVE DEFENSE

        Plaintiff     unreasonably     failed    to    take   advantage          of any   preventive    or   corrective


 opportunities provided    by Defendants        to avoid   harm   otherwise.


                                THIRTY-SIXTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims are barred    by the Faragher-Ellerth          doctrine.


                              THIRTY-SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff   was not subjected   to   an adverse employment action.
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                               THIRTY-EIGHTH AFFIRMATIVE DEFENSE

         Defendants did not Violate the      civil rights   of Plaintiff.


                                THIRTY-NINTH AFFIRMATIVE DEFENSE

         Defendants took prompt and remedial action.


                                   FORTIETH AFFIRMATIVE DEFENSE

         Plaintiff’s   Complaint   is   barred by the exclusivity provision of the         New   Jersey Workers’


 Compensation Act.




 seq.
         Plaintiff’s   Complaint
                                 FORTY-FIRST AFFIRMATIVE DEFENSE

                                   is   barred by the   New    Jersey Tort Claims Act,          M      59:1-1, et




                                FORTY-SECOND AFFIRMATIVE DEFENSE

         Plaintiff did not   have a reasonable belief that a      rule, regulation, or   law was being violated.


                                 FORTY-THIRD AFFIRMATIVE DEFENSE

         Plaintiff did not   engage in any “whistle—blowing”           activities.



                                FORTY-FOURTH AFFIRMATIVE DEFENSE

         Defendants did not        retaliate   Plaintiff    due   to    Plaintiff’s   alleged   “whistle-blowing”


 activities.



                                 FORTY-FIFTH AFFIRMATIVE DEFENSE

         Plaintiff did not   have a reasonable belief that a whistleblowing           activity occurred.


                                 FORTY-SIXTH AFFIRMATIVE DEFENSE

         Defendants committed no act that can be deemed                retaliatory.



                              FORTY-SEVENTH AFFIRMATIVE DEFENSE
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        Plaintiff has failed to plead       any constitutional Violations with        specificity as to state a


 cognizable claim under 42 U.S.C. §1981, §1983 and §1985, for alleged Violations of his rights


 under the    First     and Fourteenth Amendments to the United States Constitution, or any other


 constitutional provision,       and Defendants are           entitled to dismissal of the   Amended Complaint

                                    FORTY-EIGHTH AFFIRMATIVE DEFENSE

        At   all   times mentioned in the        Amended Complaint,        the Defendants acted in their capacity


 as elected officials under the color of state law.


                                     FORTY-NINTH AFFIRMATIVE DEFENSE

          Plaintiff’s Claims are barred          because the actions allegedly taken by the Defendants against


 him would have been          the   same   actions taken, even absent the allegedly protected activities, for


 lawful and legitimate reasons and interests.


                                     FIFTEETH AFFIRMATIVE DEFENSE

          Plaintiff’s claims pursuant to          42 U.S.C. §1981, 1983 and 1985            are barred because


 Defendants        at   no time engaged    in   any conduct that violated any privacy        right, or     any right with

 respect to his medical records, medical information or his health, and Defendants are entitled t0 a


 dismissal of the        Amended    Complaint.




 when
        Defendants are


         in the fact of
                                    FIFTY-FIRST AFFIRMATIVE DEFENSE

                              immune from

                            cémpeting demands,
                                                  liability



                                                       it
                                                              under the provisions of


                                                            determines, in the exercise of
                                                                                            m    its
                                                                                                          59:2—3 and 59:3-2


                                                                                                       discretion the   manner

 in   which existing resources, equipment,            facilities,   and personnel   shall   be   utilized.



                                     FIFTY-SECOND AFFIRMATIVE DEFENSE
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      At   all   times relevant hereto, Defendants acted in good faith and have not violated any rights


 which may be secured          to Plaintiff        under any federal,    state,   or local laws, rules, regulations, or


 guidelines.


                                      FIFTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s      allegations    are    frivolous    and accordingly,         after    prevailing      in   this    matter,


 Defendants should be awarded                its   attorneys’ fees and costs pursuant to            MS_.A_. 15—59.1 and

 g_.J.S_A. 10:5—1 ét seq.


                                     FIFTY-FOURTH AFFIRMATIVE DEFENSE

         Defendants hereby give notice that                it   reserves the right to offer additional defenses that


 may become        available or apparent during the course of discovery and/or                       which cannot now be

 articulated     due   to Plaintiff’s failure to particularize his claims and, thus,                it   reserves the right to


 amend   its   answer    t0 assert   such defenses.


         WHEREFORE,              the    Defendants        demand judgment            in     its   favor    against       Plaintiff,



 dismissing with prejudice each and every count of the Complaint, together with attorney's fees


 and costs 0f defense and such other and further                     relief as the    Court       shall believe is just        and


 reasonable under the circumstances.
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                                       ,IURY DEMAND

       Defendant hereby demands   that a trial   by jury   as to   all    issues so triable.




DEMAND FOR STATEMENT OF DAMAGES PURSUANT TO LOCAL CIVIL RULE 8.1
       The Defendant hereby   requests that the Plaintiff’s furnish to the Defendant within 10 days


 of service hereof, a written statement of damages claimed in the within action against this


 Defendant.




                                             KEENAN & DORIS, LLC
                                             Attorneys for Defendants


                                                           (Mame     .
                                                                         ~"      m.“


                                             By:
                                                       4;,ze/r5w                   (L
                                                       Timothy R. O’Connor, Esq;
 Dated: February 15, 2019
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                                                        CERTIFICATION

             Pursuant to Local Rule 11.2,           I   hereby certify that the within pleading was served within


 the time period provided for under Federal Rules of Civil Procedure and                   I   am   not aware 0f the


 within matter being the subject of any other action pending in any Court or Arbitration forum.                    I



 certify that    no such action or    arbitration proceeding is presently contemplated          and no new parties

 need   to   be joined   in the   above   action.




                                                             KEENAN & DORIS, LLC
                                                             Attorneys for Defendants

                                                                         ”my?"                        m



                                                                    Timothy 1V1. O’Connor, Esq.
 Dated: February 15, 2019
